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 4
     Attorney for Defendant
 5   ROBERT KLAUS
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:11-CR-00428 GEB
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   BRYAN SMITH, et al.,                               TRIAL ACT
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Richard Bender, Assistant United States Attorney, attorney for plaintiff;
18   Michael E. Hansen, attorney for defendant Robert Klaus; Mark Reichel, attorney for defendant
19   Bryan Smith; Steven Bauer, attorney for defendant Kelly Smith; Timothy Zindel, Assistant
20   Federal Defender, attorney for defendant Daniel Goldsmith; William Bonham, attorney for
21   defendant Bruce Goldsmith; and Stanley Kubochi, attorney for defendant Ryder Phillips, that
22   the previously-scheduled status conference date of December 2, 2011, be vacated and the
23   matter set for status conference on January 13, 2012, at 9:00 a.m.
24          This continuance is requested to allow counsel additional time to review discovery with
25   the defendants, to examine possible defenses and to continue investigating the facts of the case.
26   Plea negotiations are expected to commence prior to the proposed status conference date.
27          The Government concurs with this request.
28          Further, the parties agree and stipulate the ends of justice served by the granting of such


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 1   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
 2   that time within which the trial of this case must be commenced under the Speedy Trial Act
 3   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 4   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 5   stipulation, December 1, 2011, to and including January 13, 2012.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7          IT IS SO STIPULATED.
 8   Dated: December 1, 2011                             Respectfully submitted,
 9                                                       /s/ Michael E. Hansen
                                                         MICHAEL E. HANSEN
10                                                       Attorney for Defendant
                                                         ROBERT KLAUS
11
     Dated: December 1, 2011                             /s/ Michael E. Hansen for
12                                                       MARK REICHEL
                                                         Attorney for Defendant
13                                                       BRYAN SMITH
14   Dated: December 1, 2011                             /s/ Michael E. Hansen for
                                                         STEVEN BAUER
15                                                       Attorney for Defendant
                                                         KELLY SMITH
16
     Dated: December 1, 2011                             DANIEL J. BRODERICK
17                                                       Federal Defender
18                                                       By: /s/ Michael E. Hansen for
                                                         TIMOTHY ZINDEL
19                                                       Assistant Federal Defender
                                                         Attorney for Defendant
20                                                       DANIEL GOLDSMITH
21   Dated: December 1, 2011                             /s/ Michael E. Hansen for
                                                         WILLIAM BONHAM
22                                                       Attorney for Defendant
                                                         BRUCE GOLDSMITH
23
     Dated: December 1, 2011                             /s/ Michael E. Hansen for
24                                                       STANLEY KUBOCHI
                                                         Attorney for Defendant
25                                                       RYDER PHILLIPS
26   Dated: December 1, 2011                             BENJAMIN B. WAGNER
                                                         United States Attorney
27
                                                         By: /s/ Michael E. Hansen for
28                                                       RICHARD BENDER
                                                         Assistant U.S. Attorney
                                                         Attorney for Plaintiff
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 1                                                    [PROPOSED] ORDER
 2           The Court, having received, read, and considered the stipulation of the parties, and
 3   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
 4   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
 5   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
 6   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
 7   specifically finds that the failure to grant a continuance in this case would deny defense
 8   counsel to this stipulation reasonable time necessary for effective preparation, taking into
 9   account the exercise of due diligence. The Court finds that the ends of justice to be served by
10   granting the requested continuance outweigh the best interests of the public and the defendants
11   in a speedy trial.
12           The Court orders that the time from the date of the parties’ stipulation, December 1,
13   2011, to and including January 13, 2012, shall be excluded from computation of time within
14   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
15   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to
16   prepare). It is further ordered that the December 2, 2011, status conference shall be continued
17   until January 13, 2012, at 9:00 a.m.
18           IT IS SO ORDERED.
19           Date: 12/1/2011
20
21                                                                  _________________________
                                                                    GARLAND E. BURRELL, JR.
22                                                                  United States District Judge
23           DEAC_Signature-END:




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     Stipulation and [Proposed] Order to Continue Status Conference
